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Class Counsel

UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION
NISHA BROWN and KATHY WILLIAMSON, CASE NO.: 5:09-CV-03339-EJD
individually and on behalf of all others similarly
situated, PLAINTIFF’S OPPOSITION TO WAL-
Plaintiffs, MART’S MOTION FOR LEAVE TO FILE
AN OVERSIZED MEMORANDUM OF
VS. POINTS AND AUTHORITIES IN
SUPPORT OF ITS MOTION TO
WAL-MART STORES, INC., and DOES 1 through) DECERTIFY THE CLASS
50 inclusive,
Defendants.

 

 

 

 

 

 

 
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Plaintiff, Kathy Williamson, files the following Opposition to Wal-Mart’s request for leave
to file an oversized Memorandum of Points and Authorities In Support of Its Motion to Decertify
the Class. As the Court will recall, the parties submitted a voluminous amount of briefing in
connection with Plaintiff's Motion for Class Certification. Specifically, the Memorandum of
Points and Authorities supporting the Class Certification Motion was 23 pages in length (ECF. No.
81), the Opposition was 24 pages in length (ECF No. 82), and the Reply was 15 pages in length
(ECF No. 92). Subsequent to these filings, the parties each filed a 5 page Supplemental Brief (ECF
Nos. 106 and 108). On August 24, 2012, this Court issued a 14 page Order granting class
certification (ECF No. 110) and Wal-Mart promptly appealed.

Wal-Mart claims it is justified filing an oversized brief due to what it characterizes as the
“robust and multi-faceted” standard established by the California Supreme court in Kilby v. CVS
Pharmacy, Inc., 63 Cal.4th 1 (2016). The Court will recall that the Ninth Circuit Court of Appeals
relied upon Kilby when it affirmed this Court’s certification order. See, ECF. No. 135. In doing so,
the Ninth Circuit noted:

By reviewing whether cashier’s spent the majority of their time working at

registers, the district court appears to have applied a “holistic approach” in

interpreting California Wage Order 7-2001 § 14(A). Such an interpretation is
inconsistent with the California Supreme Court’s recent guidance in Kilby v. CVS

Pharmacy, Inc. 368 P.3d 554 (Cal. 2016). However, this error does not undermine

the district court’s class certification decision, because the California Supreme

Court’s interpretation of the Wage Order appears to be more beneficial for

Plaintiffs than the holistic interpretation used by the district court. ECF No. 135,
p. 3[Emphasis Added]

The Ninth Circuit Court of Appeals reference to a “holistic approach” was made in
reference to Wal-Mart’s contention at Class Certification that in order to determine if the nature of
the work reasonably permits the use of a seat, the court is required to consider each and every

tasked performed by a cashier, regardless of location. In Kilby, the California Supreme Court

 

Case No. C09-0339-EJD ] PLAINTIFF’S OPPOSITION TO WAL-MART’S
MOTION FOR LEAVE TO FILE AN OVERSIZED
MEMORANDUM OF POINTS AND AUTHORITIES
IN SUPPORT OF ITS MOTION TO DECERTIFY THE
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rejected that approach as inconsistent with the remedial purpose of the seating law. Kilby, 63
Cal.4"™ at 16. Instead, the Court confirmed that when evaluating whether the nature of the work
reasonably permits the use of seats, “courts must examine subsets of an employee’s total tasks and
duties by location, such_as those performed at a cash register or a teller window, and consider
whether it is feasible for an employee to perform each set of location-specific tasks while seated.”
Id. at 18.

In short, as observed by the Ninth Circuit in its Order affirming class certification in this
case (ECF No. 135), Kilby narrowed the focus of the class certification inquiry in this case. As a
result, Plaintiff submits that Ki/by decision does not justify Wal-Mart’s request to file an oversized
brief in support of its Motion to Decertify the Class. The factual record surrounding certification in
this case is robust, as is this Court’s Order certifying the class.

In addition, Plaintiff has prepared, and will shortly be filing, her Motion for Summary
Judgment. Plaintiff has been provided with dates for the hearing on her Summary Judgment
Motion from this Court, has provided those dates to counsel for Wal-Mart, and is currently waiting
for Wal-Mart’s counsel to confirm one of the three dates provided by the Court. Once Wal-Mart
selects a hearing date, Plaintiff will promptly file her Summary Judgment Motion. Plaintiff's
Summary Judgment Motion discusses the Kilby decision and its impact on this case, at length.
Notably, Plaintiff was able to confine her Memorandum of Points and Authorities in support of her
Motion for Summary Judgment to the twenty-five page limit authorized by the Court. If Plaintiff is
able to limit her Motion for Summary Judgment to twenty-five pages, Wal-Mart should be able to
do the same in its decertification motion.

Based on the above, Plaintiff objects to Wal-Mart’s request to file an oversized

memorandum of points and authorities in support of its decertification motion. Should the Court

 

 

 

Case No. C09-0339-EJD 2 PLAINTIFF’S OPPOSITION TO WAL-MART’S
MOTION FOR LEAVE TO FILE AN OVERSIZED
MEMORANDUM OF POINTS AND AUTHORITIES
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disagree and grant Wal-Mart’s request to file an oversized brief, Plaintiff respectfully requests the

she also be allowed to file an oversized Opposition commensurate with the additional number of

pages Wal-Mart is granted.

Dated: December 22, 2017

Respectfully Submitted
JONES LAW FIRM
By_/s/ Charles A. Jones

Charles A. Jones
Class Counsel

 

 

 

Case No. C09-0339-EJD

PLAINTIFF’S OPPOSITION TO WAL-MART’S
MOTION FOR LEAVE TO FILE AN OVERSIZED
MEMORANDUM OF POINTS AND AUTHORITIES
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CERTIFICATE OF SERVICE
I, the undersigned, declare as follows:
I am employed in the County of Washoe, State of Nevada.

I am over the age of eighteen (18) years and not a party to the within action; my business address is
9585 Prototype Court, Suite B, Reno Nevada, 89521.

On December 22, 2017, I served the foregoing documents describes as:

I. PLAINTIFF’S OPPOSITION TO WAL-MART’S MOTION FOR LEAVE TO
FILE AN OVERSIZED MEMEORANDUM OF POINTS AND AURHTORITIES
IN SUPPORT OF ITS MOTION TO DECERTIFY THE CLASS

on all interested parties in this action addressed to the addressee as follows:

Anthony D. Sbardellati

Lisa Yumi Mitchell

Steven C. Gonzalez

Particia A. Kinaga
Alexander Humphrey Hu
LTL ATTORNEYS LLP
300 S. Grand Ave., Floor 14
Los Angeles, CA 90071
Telephone: 1-213-612-8900
Facsimile: 1-213-612-3773

X__ By ECF (Electronic Case Filing). I e-filed the above-detailed document utilizing the United
States District Court, Northern District of California’s mandated ECF service on December 22,

2017.

I declare under penalty of perjury under the laws of the State of Nevada that the above is true and
correct.

Executed on December 22, 2017, at Reno, Nevada.

/
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